       Case 1:24-cv-03109-JLR            Document 121     Filed 08/06/24     Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



 FEDERAL TRADE COMMISSION,

                            Plaintiff,

           v.
                                                            Case No. 1:24-cv-03109-JLR
 TAPESTRY, INC.,

          and
                                                            NOTICE OF MOTION FOR
                                                            PRELIMINARY INJUNCTION
 CAPRI HOLDINGS LIMITED.

                            Defendants.



       PLEASE TAKE NOTICE that upon the attached Memorandum of Law and

accompanying Exhibits in support of Plaintiff Federal Trade Commission’s Motion for

Preliminary Injunction (“Motion”), the Federal Trade Commission, by and through its

undersigned counsel, respectfully move this Court for an order granting its Motion.




                                                1
      Case 1:24-cv-03109-JLR   Document 121    Filed 08/06/24    Page 2 of 2



Dated: August 6, 2024                Respectfully submitted,


                                     S/ Abby L. Dennis
                                     Abby L. Dennis (pro hac)
                                     DC Bar No. 994476
                                     Federal Trade Commission
                                     600 Pennsylvania Avenue, N.W.
                                     Washington, DC 20580
                                     Phone: 202-326-2494
                                     Email: adennis@ftc.gov

                                     Peggy Bayer Femenella (DC Bar No. 472770)
                                     (pro hac)
                                     Nicole Lindquist (DC Bar No. 975593) (pro hac)
                                     Laura Antonini (CA Bar No. 271658) (pro hac)
                                     Brandon Boxbaum (DC Bar No. 1615988) (pro
                                     hac)
                                     Peter Colwell (DC Bar No. 100287) (pro hac)
                                     Kassandra DiPietro (MN Bar No. 0403547) (pro
                                     hac)
                                     Frances Anne Johnson (MD Bar – No Number)
                                     (pro hac)
                                     Sarah Kerman (DC Bar No. 90017957) (pro hac)
                                     Andrew Lowdon (DC Bar No. 230095) (pro hac)
                                     Danielle Quinn (NY Bar No. 5408943)
                                     Blake Risenmay (WA Bar No. 52888) (pro hac)
                                     Edmund Saw (DC Bar No. 1658446) (pro hac)
                                     Victoria Sims (DC Bar No. 1006974) (pro hac)
                                     Timothy Singer (DC Bar No. 1048769) (pro hac)

                                     Counsel for Plaintiff Federal Trade Commission




                                      2
